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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 1:21-cr-00311-CRC
                 v.                            :
                                               :
JEREMY DANIEL GROSECLOSE,                      :
                                               :
                 Defendant.                    :


                      JOINT STATUS REPORT REGARDING TRIAL DATE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following joint status report regarding a trial date in

this matter. Pursuant to the Court’s order at the October 31, 2022 status conference, and its minute

order of November 15, 2022, the parties have met and conferred regarding a mutually agreeable

trial date and associated deadlines.

       The parties jointly propose that this matter be scheduled for trial on or after May 22, 2023.

This request is based on defense counsel’s trial schedule between now and late April 2023, which

is as follows:

      Trial in the matter of United States v. Ethan Nordean, et al., 1:21-cr-00175-TJK, scheduled

       to begin on December 12, 2022. This is a case arising out of the events of January 6, 2021,

       in which members of the Proud Boys are charged with conspiracy and various other

       offenses. Defense counsel here represents Zachary Rehl in the Nordean et al. matter.

       Defense counsel expects that there will be five defendants at trial, and that the trial will last

       for five to six weeks, which would have the trial ending sometime between January 16–23,

       2023.




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       Trial in the matter of United States v. Crowl et al., 1:21-cr-00028-APM, scheduled to begin

        on February 1, 2023. This is a case arising out of the events of January 6, 2021, in which

        members of the Oath Keepers are charged with conspiracy and various other offenses.

        Defense counsel here represents Donovan Ray Crowl in the Crowl et al. matter. Defense

        counsel expects that there will be eight defendants at trial, and that trial will last for four to

        six weeks, which would have the trial ending sometime between March 1–15, 2023.

       Trial in the matter of United States v. Javier Algredo Vazquez, 1:21-cr-00597-BAH,

        scheduled to begin on March 23, 2023. This case is unrelated to January 6, 2021. Here,

        defense counsel represents a defendant charged (without other defendants) in a conspiracy

        to manufacture and distribute controlled substances, knowing and having reasonable cause

        to believe they would be imported into the United States, and money laundering. Defense

        counsel expects that this trial will last approximately four weeks, which would have trial

        ending by approximately April 20, 2023.

Based on this trial calendar, the parties suggest a trial date of May 22, 2023 or thereafter, which is

approximately four and a half weeks after the conclusion of defense counsel’s other trials. The

Nordean, Crowl, and Vazquez matters are scheduled so close in time to one another that it will not

be possible for this trial to be inserted between them. If they run on the longer side of defense

counsel’s estimate, this trial cannot fit in the gap; even if they run on the shorter side of counsel’s

estimate, the extra week or so would not allow adequate time for preparation of defense counsel’s

case.

        The parties suggest a date on or after May 22, 2023 because defense counsel may need

more than two weeks to prepare following three back-to-back trials, and because an earlier setting

would interfere with the dates set forth in the attached, proposed pretrial order. For example, the


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parties may need to meet and confer about exhibits, stipulations, Brady and Giglio material, voir

dire, and jury instructions. Setting this case too close to Vazquez would limit the time available to

meet and confer and might make pretrial deadlines difficult or impossible to meet.

       The parties further request that time between November 14, 2022, and the new trial date

be excluded from computation under the Speedy Trial Act, as the failure to grant a continuance

would deny defense counsel the reasonable time necessary for effective preparation, taking into

account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(iv).

                                      Respectfully submitted,

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